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UNITED STATES DISTRICT COURT
NORTHER DISTRICT OF FLORIDA

PENSCOLA DIVISION
THOMAS STALLWORTH And
WILLIE MAE STALLWORTH,
Plaintiffs, CASE NO. 3:06CV89MCR/EMT

VS. CIVIL ACTION FOR DAMAGES

THE HARTFORD INSURANCE COMPANY,
a Delaware Corporation; And

HARTFORD INSURANCE COMPANY : 2
OF THE MIDWEST, an Indiana corporation; ey, 4
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PLAINTIFFS’ OBJECTIONS TO
DEFENDANTS’ MOTION FOR PHYSICAL EXAMINATION

Now Come Thomas Stallworth and Willie Mae Stallworth, plaintiffs herein who

files this objection to the motion for physical examination; and in support of said

objection, would respectfully show the court as follows:

J. Factual Background

In May of 1999, Thomas Stallworth and his wife, Willie Mae Stallworth, were injured
when they were struck from behind while driving their automobile on a public
thoroughfare in Escambia County, Florida. The Stallworths eventually brought suit
against the driver of the offending automobile, Daniel Frank Oaks. At the time of the

accident, the Stallworths were covered under the provisions of an automobile liability
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policy, including a standard Uninsured Motorist (UIM) clause, written by The Hartford
Insurance Company; and sold to them by the Hartford Insurance Company of the
Midwest as agent for The Hartford. Although the Stallworths sought to have The
Hartford represent their interests in the tort lawsuit, The Hartford declined to participate
and the Stallworths eventually settled the case with defendant Oaks for the policy limits
of Oaks’s automobile liability insurance policy.

Because the damages sustained and incurred by the Stallworths as a result of the
accident exceeded the policy limits recovered by them in the settlement with Oaks, the
Stallworths filed a claim with Hartford seeking to recover payment for the amount of
excess damages not recovered from Oaks. Hartford has denied the UIM claim filed by the
Stallworths; as well as any coverage for other damages and loss arising out of the May
1999 accident.

II. The Hartford’s Motion

Defendants The Hartford Insurance Company and Hartford Insurance Company of the
Midwest have filed, pursuant to Fed. R. Civ. P. Rule 35(a), a motion seeking a medical
examination of plaintiffs Thomas Stallworth and Willie Mae Stallworth to be performed
by a physician of defendants’ choosing. Plaintiff Thomas Stallworth objects to the
requested examination for the reasons outlined below. Additionally, plaintiff Willie Mae

Stallworth sets out a further basis for objection in Part C below.
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III. Argument

The Hartford’s Motion Fails In Pertinent Respects Under Rule 35(a)

A. Rule 35(a) permits a medical examination “when the mental or physical condition ...
of a party ... is in controversy”, The physical examination under rule 35(a), however,

cannot be ordered upon a showing of mere relevance. Caban v. 600 E. 21° St. Company,

200 F.R.D. 176, 178 (E.D.N.Y. 2001). To be in controversy, a fact must be at issue in the
lawsuit. There is no controversy regarding the fact of injury sustained by Thomas
Stallworth. Nor is the extent and degree of plaintiff Thomas Stallworth’s injury in
question: rather, the question — and the only issue in controversy in this suit — is whether
defendants are liable for payment under the UIM or other provisions of the Hartford
policy of insurance issued to the Stallworths.

Recall that this is not a first party suit by plaintiff against Hartford for recovery of tort
damages. First party tort liability arising out of the May 1999 automobile crash has
already been resolved against the offending driver and his liability carrier. In that lawsuit,
a bottom floor for the dollar amount of damages to plaintiff Thomas Stallworth was
established; and the amount paid by defendant Oaks, the offending driver, and his insuror
in that matter was limited to the contractual amount of the policy held by defendant Oaks.
The Hartford Insurance Company and Hartford Insurance Company of the Midwest,
insurors for Thomas Stallworth, chose not to be a part of the prior tort lawsuit — although
The Hartford had the right to participate in the suit on behalf of Thomas Stallworth. The
Hartford chose not to participate — and a damages floor was established. The contractual

amount of plaintiffs’ damages in that case was at least $50,000 dollars. The instant action
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by plaintiffs seeks payment for damages sustained in excess of the prior defendant’s
policy limits. The court should remain vigilant to make this continuing distinction as this
matter unfolds. Defendants’ motion fails to pass the threshold requirement for
demonstrating that the degree of Thomas Stallworth’s injuries are in controversy in this
suit.

B. Second, there exists a “for good cause shown” requirement for the invocation of
Rule 35(a). Generally, good cause exists where the information cannot be found in any
other way. The Hartford has not demonstrated any justifiable cause necessitating a
second medical examination for plaintiff. Again, the court should be aware that July of
1999 in the immediate aftermath of the accident and the initial filing of plaintiffs’ claim,
The Hartford required Thomas Stallworth to submit to a full medical examination by a
physician chosen by Hartford. Plaintiff duly presented and underwent the medical
examination performed by Dr. Steven Thompson in Houston, Texas. Dr. Thompson’s
diagnosis confirmed the serious nature of plaintiffs injuries; and found plaintiff to be
suffering from cervical strain and coccydynia as well as other related maladies. Dr.
Thompson at that time found plaintiff unable to return to work. The Hartford contested
this diagnosis in a letter to Dr. Thompson - and at that time took the extraordinary step of
suggesting that the physician re-examine Mr. Stallworth. The request for a repeat
examination was refused. The results of the original physical examination of Thomas
Stallworth are already available to defendants. The order for medical examination of
Thomas Stallworth at this juncture in the dispute serves no useful purpose. See Petition

of Trinidad Corp., 238 F. Supp. 928, 936 (ED Va. 1965)(holding that availability of

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existing medical records negated ability of party seeking examination to demonstrate
good cause).

The Hartford has posited no compelling rationale why the original physical
examination, performed contemporaneous to the accident as opposed to six years later,
should not be considered the definitive diagnosis in the case; and why the examination
now sought by Hartford should not be deemed redundant, repetitious and burdensome.
Documentation relating to the previous medical examination and its findings are in
plaintiffs possession.

Finally, Rule 35(a) carries an implicit requirement for specificity regarding the nature
and extent of the physical examination to be performed. A broad, undifferentiated
demand that plaintiff present himself for physical examination and evaluation does not
satisfy the requirement that the personal intrusion occasioned by the physical
examination be limited in scope and related to the specific injuries forming the basis of
the claim. Defendants’ generalized call for a medical examination failed to advert to the
specificity requirement imbedded in the rule.

C. Plaintiff Willie Mae Stallworth makes a similar and related objection to the order for
medical examination. Plaintiffs are both over the age of sixty years. The accident which
forms the basis of this dispute occurred over seven years ago. The normal rates of human
physiological decline, coupled with the effects of a second intervening automobile
accident, make unreliable the diagnosis and conclusions of any medical examination
which purports to apply solely to the May 1999 incident. It is difficult — approaching an
impossibility — to make discerning medical distinctions between injuries and symptoms

which are seven years old; and similar injuries and symptoms arising less than two years
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ago. While medical experts are to be charged with precisely this task, it is essentially a
fool’s errand; and any allocation and assignment of damages to one accident or the other
is, ultimately, nothing more than mere medical speculation.

Defendants herein cannot demonstrate any cause justifying the current demand for
medical examination - let alone satisfying the heightened standard for a showing of good
cause required by Rule 35(a).

Prayer for Relief
Plaintiffs respectfully suggest that defendants have failed to make the necessary
showing to justify the grant of a Rule 35 motion for physical examination. Plaintiffs pray
that the motion for physical examination be denied as it applies to both plaintiffs; and that

plaintiffs be granted any and all such other and further relief to which at law or in equity

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they may show themselves justly entitled.

Willie Mae Stallworth

Certificate of Service

I hereby certify that a true and correct copy of the above and foregoing objection to
motion for physical examination was delivered to Joseph Kissane, counsel for
defendants, 1805 Copeland Street, Jacksonville, Florida 32204 by facsimile; as well as by
depositing same, postpaid, with the United States Postal Service at Houston, Texas on
this 4, 0 day of February, 2007.

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